Case 2:16-cv-05051-GW-AFM Document 462 Filed 04/09/18 Page 1 of 4 Page ID #:13804




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 11
 12                       UNITED STATES DISTRICT COURT
 13                     CENTRAL DISTRICT OF CALIFORNIA
 14                                                  Case No.: 2:16-cv-05051-GW-AFM
      ALS SCAN, INC., a Maryland
 15   corporation,                                   JOINT SHORT STATEMENT OF
 16                                                  THE CASE
                  Plaintiff,
 17                                                  Date: April 12, 2018
 18      vs.                                         Time: 8:30 a.m.
                                                     Place: Courtroom 9D
 19                                                         350 W. 1st Street
      CLOUDFLARE, INC., a Delaware
 20   corporation, et al.,                                  Los Angeles, CA
 21
                   Defendants.
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                                 Joint Short Statement of the Case
Case 2:16-cv-05051-GW-AFM Document 462 Filed 04/09/18 Page 2 of 4 Page ID #:13805




  1         This is a case for contributory copyright infringement. This is a legal
  2   theory that may be asserted against a company that did not itself directly
  3   infringe copyright, but which allegedly, with knowledge of infringement,
  4   materially contributed to direct infringement by others.
  5         The plaintiff, or the party that filed this case, is ALS Scan Inc. ALS
  6   produces adult entertainment. ALS does not sell or license its works. Rather,
  7   ALS places its works on two websites, alsscan.com and alsangels.com. ALS’s
  8   proprietary content is available to subscribers who pay for access to secure
  9   websites on which ALS’s content resides.
 10         The Defendant, or party being sued, is Cloudflare, Inc. Cloudflare is a
 11   company that provides services that improve website safety and performance.
 12   Cloudflare’s services include Internet security services, content delivery
 13   network services, and domain name system services. Cloudflare does not
 14   provide Internet access or website hosting services.
 15         ALS alleges that specific websites repeatedly displayed infringing copies
 16   of ALS works. ALS alleges that these websites were customers of Cloudflare.
 17   ALS alleges that Cloudflare had knowledge of the infringements by these
 18   websites, and materially contributed to infringements of ALS works on these
 19   sites by, among other actions or inactions, failing to terminate its services to the
 20   customers. ALS alleges that Cloudflare is liable for contributory infringement
 21   with respect to these sites. ALS has the burden to prove its claims.
 22         Cloudflare denies ALS’s claims. Cloudflare contends that ALS cannot
 23   prove contributory copyright infringement, and that Cloudflare also qualifies
 24   for certain affirmative defenses for online service providers under a part of the
 25   copyright law called the Digital Millennium Copyright Act, or DMCA.
 26   Cloudflare also asserts other defenses that could eliminate or reduce any award
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                                  Joint Short Statement of the Case
Case 2:16-cv-05051-GW-AFM Document 462 Filed 04/09/18 Page 3 of 4 Page ID #:13806




  1   to ALS. 1 Cloudflare has the burden to prove its affirmative defenses. ALS
  2   denies Cloudflare’s defenses.
  3
  4   DATED: April 9, 2018                       SPILLANE LAW GROUP PLC
                                                 GALLAGHER & KENNEDY, P.A.
  5
  6
  7
                                                 By: _____________________________
  8                                                          Jay M. Spillane
                                                 Attorneys for Plaintiff ALS Scan, Inc.
  9
 10   DATED: April 9, 2018                       FENWICK & WEST LLP
 11
 12
                                                 By: _____/s/ Andrew P. Bridges_______
 13
                                                             Andrew P. Bridges
 14                                              Attorneys for Defendant Cloudflare, Inc.
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          The italicized language in red font is proposed by Cloudflare only.
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                                   Joint Short Statement of the Case
   Case 2:16-cv-05051-GW-AFM Document 462 Filed 04/09/18 Page 4 of 4 Page ID #:13807



                                  PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this action. My business address is: 468 N. Camden Drive, Second Floor,
Beverly Hills, CA 90210-4507. A true and correct copy of the foregoing document entitled (specify):
JOINT SHORT STATEMENT OF THE CASE will be served or was served (a) on the judge in
chambers in the form and manner required by Local Rules and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and Local Rules, the foregoing document will be served by the court via NEF and hyperlink to the document. On
(date) April 9, 2018, I checked the CM/ECF docket for this action and determined that the following persons are on the
Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

Gary L. Bostwick– gbostwick@B1Law.com                           Colin TJ O’Brien – tm@partridgepartnerspc.com
Kevin S. Toll – kevin@silversteinlegal.com                      John L. Ambrogi – jla@partridgepartnerspc.com
Lawrence G. Walters – larry@firstamendment.com                  Daniel L Rogna daniel@partridgepartnerspc.com
Corey D. Silverstein – corey@silversteinlegal.com               Paul Supnick – paul@supnick.com
Rachel Kassabian – rachelkassabian@quinnemanuel.com             Raymond Katrinak – pkatrinak@kernanlaw.net
Carolyn M. Homer – carolynhomer@quinnemanuel.com                Ryan Carreon – rcarreon@kernanlaw.net
Mark Thomas Gray markgray@quinnemanuel.com                      Stephen M Kernan – kernanlaw@gmail.com
Armen Nercessian anercessian@fenwick.com                        John P Flynn john.flynn@gknet.com
Jedediah Wakefield jwakefield@fenwick.com                       Kevin D Neal kevin.neal@gknet.com
Sapna S Mehta smehta@fenwick.com

                                                                             Service information continued on attached page
2. SERVED BY UNITED STATES MAIL:
On (date) April 9, 2018, I served the following persons and/or entities at the last known addresses in this case by placing
a true and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and addressed
as follows. Listing the judge here constitutes a declaration that mailing to the judge will be completed no later than 24
hours after the document is filed.

                                                                           Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling Local Rule, on (date) April 9, 2018, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

Served by Overnight Mail or Attorney Service
Hon. George H. Wu
U.S. District Court
         st
350 W. 1 Street
Courtroom 9D
Los Angeles, CA 90012                                                      Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 4/9/2018                    Jessie Gietl

 Date                     Printed Name                                         Signature
